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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


ERIC SHAWN CRAFTON,                  )
                                     )
        Plaintiff,                   )
                                     )           CIVIL ACTION NO.
        v.                           )             2:20cv465-MHT
                                     )                  (WO)
LT. THOMPKINS, et al.,               )
                                     )
        Defendants.                  )

                             OPINION AND ORDER

    Plaintiff, a state prisoner, filed a motion for

preliminary injunction seeking protection from officers

he contends are abusing him.               This case is before the

court        on   the     recommendation    of    the   United    States

Magistrate         Judge     that   the    plaintiff’s     motion      for

preliminary         injunction      be    denied.       There    are    no

objections to the recommendation.                 Upon an independent

and de novo review of the record, it is ORDERED as

follows:

    (1) The             recommendation     of    the    United    States

Magistrate Judge (doc. no. 11) is adopted.
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    (2) The motion for preliminary injunction (doc. no.

4) is denied.

    It is further ORDERED that this case is referred

back to the magistrate judge for further proceedings.

    DONE, this the 19th day of October, 2020.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
